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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

                                Honorable Thomas B. McNamara

 In re:                                          )
                                                 )
 11380 SMITH ROAD, LLC,                          )   Case No. 18-10965 TBM
 EIN: XX-XXXXXXX,                                )   Chapter 11
                                                 )
            Debtor.                              )


     MOVANT’S CERTIFICATE OF NON-CONTESTED MATTER WITH RESPECT
     TO THE FIRST AND FINAL APPLICATION OF BROWN DUNNING WALKER
      PC FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
               EXPENSES AND REQUEST FOR ENTRY OF ORDER


         On November 30, 2018, Brown Dunning Walker PC, Special counsel for Debtor-in-
 Possession, 11380 Smith Rd LLC (“Movant”), filed an Application pursuant to L.B.R. 9013-1
 entitled: First and Final Application for Allowance and Payment of Compensation and
 Reimbursement of Expenses of Brown Dunning Walker PC. Movant hereby certifies that the
 following is true and correct:

         1.     Service of the Application, Notice and proposed Order were timely made on all
 parties against whom relief is sought and those otherwise entitled to service pursuant to the
 FED.R.BANKR.P. and the L.B.R. as is shown on the Certificate of Service, L.B. Form 9013-1.2,
 previously filed with the Application on November 30, 2018.

         2.      Mailing or other service of the notice was timely made on all other creditors and
 parties in interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted by an order
 of the court, a copy of which is attached), as is shown on the Certificate of Service, L.B. Form
 9013-1.2, previously filed with the Notice on November 30, 2018.

          3.     The docket numbers for each of the following relevant documents are:

               a.       The Application and all documents attached thereto and served therewith,
 (Docket No. 149);

                b.      The Certificate of Service of the Applicationand all documents attached
 thereto and served therewith, Notice and proposed Order, (Docket No. 150);

                 c.     The Notice, (Docket No. 150); and

                 d.     The proposed Order, (Docket No. 149).
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         4.    No objections to or requests for hearing on the Application were received by the
 undersigned, or filed with the Court and docketed in the case file by the date designated in the
 Notice.

        WHEREFORE, Movant prays that the court forthwith enter an order, a form of which is
 attached to Docket No. 149, granting the requested relief.

        Dated this 28th day of December, 2018.


                                             BROWN DUNNING WALKER PC


                                             s/ Douglas W. Brown
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